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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
 LIABILITY LITGATION
                                                    Case No. 16-md-02741-VC
 This document relates to:
                                                    PRETRIAL ORDER NO. 152:
 Hardeman v. Monsanto, 3:16-cv-00525-VC
                                                    GUIDANCE FOR HEARING ON
                                                    POST-TRIAL MOTIONS




       The July 2, 2019, hearing is rescheduled from 1:00 p.m. to 2:30 p.m. At that hearing, the

parties should be prepared to focus exclusively on the following issues:

       Compensatory Damages

       1. It appears that California law provides the standard for district court review of the

excessiveness of a compensatory damages award in a diversity action. See Gasperini v. Ctr. for

Humanities, Inc., 518 U.S. 415, 431 (1996). It further appears that California law might require the

trial court to take a more active role in reviewing the excessiveness of a damages award. See Cal.

Civ. Proc. Code §§ 657, 662.5(a)(2); see also Seffert v. Los Angeles Transit Lines, 56 Cal. 2d 498,

507 (1961); Pearl v. City of Los Angeles, No. B285235, 2019 WL 2511941, at *6 (Cal. Ct. App.

June 18, 2019). The parties should be prepared to discuss whether they agree and, if so, whether

California law might require a different outcome than federal law on this issue.

       2. The plaintiffs should be prepared to identify all evidence supporting the award of

noneconomic compensatory damages.

       3. Recognizing that compensatory and punitive damages serve different purposes, the
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parties should be prepared to address the difficulties inherent in quantifying an award of

noneconomic damages. What does it mean for an award of noneconomic damages to be “grossly

excessive”?

       4. With respect to life expectancy, Monsanto should be prepared to explain why its

argument is not foreclosed by Loth v. Truck-A-Way Corp., 60 Cal. App. 4th 757, 765 n.8 (1998)

(“Attorneys may, however, ask the jury to measure the plaintiff’s pain and suffering on a ‘per

diem’ basis.”).

       Punitive Damages

       5. Both parties should be prepared to address the appropriate ratio of compensatory to

punitive damages in this case.

       6. Monsanto should be prepared to address how the maximum award that is constitutionally

permissible differs from an award that is excessive, but not constitutionally suspect. See Henderson

v. Young, No. C05-0234 VRW/WAF, 2008 WL 11454792, at *8 (N.D. Cal. July 17, 2008). Is

Monsanto arguing that the punitive damages award should be reduced on both bases?

       Jury Instructions

       7. Monsanto should be prepared to explain why it would have been appropriate to include

the “widespread and commonly recognized practice” language from FIFRA’s registration provision

in the failure-to-warn instruction. See Pretrial Order No. (Dkt. No. 2937).

       IT IS SO ORDERED.

Date: June 28, 2019                                          ___________________________
                                                             Honorable Vince Chhabria
                                                             United States District Court
